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                IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION

DONNA CURLING, ET AL.,
Plaintiffs,
                                              Civil Action No. 1:17-CV-2989-AT
v.

BRAD RAFFENSPERGER, ET AL.,
Defendants.

              PLAINTIFFS’ JOINT OBJECTIONS TO
     STATE DEFENDANTS’ REDACTIONS AND MOTION TO SEAL

     State Defendants persist in their attempts to hide from the public highly-

relevant information regarding the reliability of the Georgia Global Election

Management System (GEMS) and the cybersecurity infrastructure of the Georgia

Secretary of State’s Office (“GA SOS”). During the preliminary injunction

hearing, multiple witnesses and counsel (including State Defendants’ own counsel)

discussed in open court the many significant risks identified by Fortalice during

their cybersecurity assessments of GA SOS. Nonetheless, State Defendants have

refused to modify their extensive redactions to these assessments, insisting that

portions of the Fortalice assessments publicly disclosed in open court remain

sealed.
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     Moreover, State Defendants refuse to withdraw their frivolous motion to seal

screenshots of the GEMS database. Dr. Halderman testified in open court that the

structure of the GEMS database was not unique and instead was identical to

databases that have been publicly available for many years. Dr. Halderman’s

testimony was confirmed by GA SOS Chief Information Officer Merritt

Beaver. Therefore, State Defendants’ pending motion is effectively moot, and yet

they persist with it.

       State Defendants have failed to carry their high burden to demonstrate that

these documents should be redacted or sealed and the Court should not condone

State Defendants’ continued attempts to mislead the public about the extraordinary

unreliability of Georgia’s election cybersecurity.

                                   ARGUMENT

       Access to court records is an important component of the judicial system in

this country, and “is instrumental in securing the integrity of the process.” Chicago

Tribune Co. v. Bridgestone/Firestone, Inc., 263 F.3d 1304, 1311 (11th Cir. 2001).

This is especially true where the records in question are held by a government and

are relevant to fundamental civic rights such as voting. As stated in this Court’s

standing order, “confidentiality of proceedings is the exception, not the rule.”

(Doc. 11 at 22.) There is a presumption of access to judicial records, Newman v.


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Graddick, 696 F.2d 796, 803 (11th Cir. 1983), and documents should only be

sealed where there is good cause, see Chicago Tribune, 263 F.3d at 1315.

      To determine whether to allow materials to be filed under seal, this Court

must weigh “the competing interests of the parties to determine whether there is

good cause to deny the public the right to access the document.” F.T.C. v. AbbVie

Prod. LLC, 713 F.3d 54, 62 (11th Cir. 2013) (quotation marks and citation

omitted). An important factor weighing against sealing information is if “access is

likely to promote public understanding of historically significant events.”

Newman, 696 F.2d at 803. Further, where information is already public, there is

not good cause to allow it to be filed under seal. See Perez-Guerrero v. U.S.

Attorney General, 717 F.3d 1224, 1236 (11th Cir. 2013) (declining to seal the

name of petitioner because it had already been made public).

I.    Redactions to the Fortalice Assessments

      State Defendants provided redacted versions of Fortalice’s cybersecurity

assessments to the Court at the preliminary injunction hearing. State Defendants

have not, however, provided the Court with an explanation as to the basis for

redacting any portions of Fortalice’s assessments. In a July 24, 2019 email,

provided by Plaintiffs to the Court as Exhibit 13 at the preliminary injunction

hearing, State Defendants represented that the redactions in the October 2017


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assessment were of “unremediated vulnerabilities and the testing work around

those unremediated vulnerabilities.” With respect to the 2018 assessments,

however, State Defendants indicated that they “have not determined whether each

of the identified vulnerabilities have been remediated, so . . . left those

vulnerabilities redacted.” Both of these contentions are insufficient to justify State

Defendants’ proposed redactions.1

      First, State Defendants’ redactions to the October 2017 assessment are

inappropriate because State Defendants own witnesses and counsel referenced the

substance of these redactions in open court. For example, State Defendants

redacted portions of the October 2017 assessment related to the lack of security

controls surrounding PCC, Inc.’s management of Georgia’s voter registration

database. (Compare Pls’ Ex. 9 with Pls’ Ex. 1 at Payton_000023-24.) But Mr.
1
  Consistent with the Protective Order entered in this case, Plaintiffs notified State
Defendants of their objections to State Defendants’ proposed redactions. By email
dated July 29, 2019, Plaintiffs asked State Defendants to provide “updated versions
of the previously redacted Fortalice reports reflecting what was publicly disclosed
in court last week so we can see if a disagreement remains for the court to resolve.”
Plaintiffs specifically noted that “[m]uch of what [State Defendants] previously
redacted was publicly disclosed in the hearing.” State Defendants refused to
provide updated versions stating they did “not recall any redacted information that
was publicly disclosed at the hearing.” (Ex. A.) As this objection demonstrates,
State Defendants failed to conduct any meaningful analysis of the portions of the
Fortalice assessments that were made public. Significant portions of the Fortalice
assessments were discussed in open court. Therefore, State Defendants have failed
to carry their significant burden to demonstrate that these assessments should be
kept from the public.
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Beaver and Ms. Payton discussed these vulnerabilities extensively in open court in

response to both cross-examination and the Court’s questioning. (See Doc. 570 at

32:15-38:4, 56:14-59:15, 63:23-71:15, 225:1-228:19.) State Defendants redacted

portions of the October 2017 assessment related to Fortalice’s penetration testing.

(Compare Pls’ Ex. 9 with Pls’ Ex. 1 at Payton_000040-52.) Not only did Mr.

Beaver extensively discuss this in open court, (Doc. 570 at 44:4-46:19), but he

referenced this penetration testing in the August 2018 declaration he submitted in

opposition to Plaintiff’s motion for a preliminary injunction. (Doc. 265-1 at ¶ 6.)

State Defendants redacted portions of the October 2017 assessment related to

endpoint protection. (Compare Pls’ Ex. 9 with Pls’ Ex. 1 at Payton_000034-35.)

But both Mr. Beaver and Ms. Payton discussed GA SOS’s endpoint protection

enhancements in response to questions from State Defendants’ own counsel. (Doc.

570 at 59:6-61:10, 251:25-252:25.) State Defendants redacted references to

vulnerabilities regarding non-unique local administrator passwords from the

October 2017 assessment. But Ms. Payton discussed these vulnerabilities in open

court during both direct and cross examination. (Id. at 222:9-19, 223:11-25,

262:16-263:4.) Indeed, State Defendants’ counsel referred specifically by page

number to an entirely redacted page. (Id. at 262:16-17.)




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      Because these issues were discussed at length in open court, without

objection from State Defendants and in some cases in response to questioning by

State Defendants, State Defendants cannot plausibly argue that this information

must remain under seal.2

      Second, State Defendants’ basis for the 2018 assessments’ redactions is

wholly insufficient. Because “confidentiality of proceedings is the exception, not

the rule,” the burden is on State Defendants to justify their proposed redactions.

(Doc. 11 at 22.) They have not. Instead, State Defendants stated reason for

redacting all of the vulnerabilities in the 2018 assessments is that they did not have

time to determine which vulnerabilities had been remediated. But a lack of time is

not an appropriate reason to redact information from the public’s view. As an

initial matter, because these assessments were available since February 2018

(seventeen months prior to the hearing) and November 2018 (eight months prior to

the hearing), State Defendants had ample time to determine which vulnerabilities

had been remediated. They did not lack time, they lacked diligence. At any point
2
  State Defendants’ redactions suffer from other deficiencies. They are internally
inconsistent. For example, in the October 2017 assessment, State Defendants
redacted descriptions of vulnerabilities from Page 3 and Pages 9 to 10, while
displaying some of these same vulnerabilities on Pages 11 to 38. (Compare Pls’
Ex. 9 with Pls’ Ex. 1.) Other redactions are overbroad on their face. For example,
in the October 2017 assessment, State Defendants redacted every recommended
change to GA SOS’s written policies including several notably mundane
recommendations. (Id. at Payton_00055-56.)
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during those ensuing months State Defendants could have asked Mr. Beaver or Ms.

Payton to identify which of the vulnerabilities from the 2018 assessments have

been remediated. They apparently made no attempt to do so. Moreover, almost

two weeks have passed since State Defendants made these representations, and

they still have made no apparent attempt to identify which vulnerabilities have

been remediated and therefore can be made public.

      Additionally, as with the October 2017 assessment, redacted portions of the

2018 assessments were also discussed in open court. For example, the

vulnerabilities with PCC, Inc.’s operation of Georgia’s voter database—the sole

subject of the February 2018 assessment—were discussed at length in open court.

(See ECF No. 570 at 32:15-38:4, 56:14-59:15, 63:23-71:15, 225:1-228:19, 291:3-

21, 295:16-296:3.) Fortalice’s identification of “several instances of voter

registration data hosted on file shares” in the November 2018 assessment, which

was redacted by State Defendants, was quoted and discussed at length, including

by State Defendants’ counsel, with references to specific pages in open court.

(ECF No. 570 at 69:3-22, 288:11-289:5, 294:19-25.) And Fortalice’s November

2018 penetration testing, which was redacted by State Defendants, was discussed

at length by Ms. Payton in open court. (Id. at 248:1-250:15; 275: 9-12; 283:14-

285.:12)


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      State Defendants seek to weaponize this Court’s sealing procedures:

publicly touting positive aspects of the Fortalice assessments while shielding from

the public the many negative findings of those assessments. The Court should not

condone such behavior and their proposed redactions should be rejected.

II.   The GEMS Database Screenshots

      The July 25 and 26 preliminary injunction hearing provides further cause for

the Court to deny State Defendants’ frivolous motion to seal screenshots of the

GEMS databases.3 State Defendants’ motion to seal claims that the screenshots of

the GEMS database “disclose information regarding the GEMS database which is

not otherwise public knowledge and the documents themselves speak to fact that

disclosure of nonpublic details of this sensitive nature increase the risk to sensitive

items.” (Doc. 488-1 at 3.) At the preliminary injunction hearing, State

Defendants’ own witness, Merritt Beaver, confirmed that this assertion was false.

(Doc. 570 at 29:2-15.) Instead, the Georgia GEMS table structure is exactly the

same as the publicly-available Cobb County database that has been published on

the internet since 2002. As Dr. Halderman testified: “contrary to the expressed


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  By email dated July 29, 2019, Plaintiffs requested that State Defendants withdraw
their motion to seal the GEMS database screenshots because, based on testimony at
the preliminary injunction hearing establishing that Georgia’s GEMS database was
identical to publicly-available GEMs databases, that motion was rendered moot.
State Defendants refused, necessitating this objection.
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position of the state that there was something unique to Georgia about these

databases . . . there is actually nothing whatsoever unique about the structure of the

Georgia GEMS databases. It is identical to the structure of databases in several

other states, including databases that are public on the internet.” (Doc. 571 at

89:15-23.) Dr. Halderman’s testimony is also corroborated by the testimony of

Merle King, the former Executive Director of Georgia’s CES. (See Doc. 441 at 6.)

      Indeed, had State Defendants simply compared the names of the tables and

names of the fields in the screenshots Plaintiffs submitted of the current Georgia

GEMS database with the names of the tables and the names of the fields in the

screenshots Plaintiffs previously submitted of the public Cobb County database,

they readily could have seen that there was nothing confidential about the structure

of the Georgia GEMS database. (Compare, e.g. Doc. 489 at 2 with Doc. 455, Ex.

B at 5 (showing the same table and field names)). Beaver confirmed that he

conducted no such review before representing to the Court that the databases were

different. (Doc. 570 at 26:4-28:10.) Apparently, neither did State Defendants’

counsel. This fact too was discussed in open court during the preliminary

injunction hearing. (Id. at 22:16-29:15.)




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        Notably, State Defendants did not object to the public dissemination of these

facts during the hearing. In fact, news organizations have now reported these

public statements made in open court.4

        Because Georgia’s GEMS database is identical to databases publicly

available for more than a decade, and because this fact was publicly disclosed and

discussed in open court at the preliminary injunction hearing, and in public media,

State Defendants’ motion to seal must be denied. See Perez-Guerrero, 717 F.3d at

1236.

                                  CONCLUSION

        For all the foregoing reasons, the Court should deny reject the proposed

redactions by State Defendants to the Fortalice assessments and deny State

Defendants’ motion to seal screenshots of the GEMS database.


        Respectfully submitted this 7th day of August, 2019.




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  See Jordan Wilkie, ‘The selling of an election’: how private firms compromised
midterms security, The Guardian (Aug. 1, 2019), https://www.theguardian.com/us-
news/2019/aug/01/the-selling-of-an-election-dangerous-level-of-private-control-
revealed-in-2018-georgia-midterms.
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DONNA CURLING, ET AL.,
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                     CERTIFICATE OF COMPLIANCE

      I hereby certify that the foregoing document has been prepared in

accordance with the font type and margin requirements of LR 5.1, using font type

of Times New Roman and a point size of 14.

                                              /s/ David D. Cross
                                             David D. Cross




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                          CERTIFICATE OF SERVICE

      I hereby certify that on August 7, 2019, a copy of the foregoing was

electronically filed with the Clerk of Court using the CM/ECF system, which will

automatically send notification of such filing to all attorneys of record

                                                /s/ David D. Cross
                                               David D. Cross




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